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                                                    Exhibit J




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                                                                       1
               Case 2:24-cv-03951-PSG-RAO Document 1-10 Filed 05/10/24 Page 2 of 14 Page ID #:289
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                             U.S. Patent No. 8,719,886

                                              Sandpiper CDN




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                                                                       2
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PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


       8,719,886                                                         Google CDN
 1. A computer-            Google uses and provides content delivery network(s) (“Google CDN”), including Google’s internal
 implemented method        services and services Google offers to third parties that are used to provide content, such as webpages
 for delivery of video     and/or video streams, over a network. Google CDN includes services such as YouTube, for example,
 content across a          along with Google’s own use of technologies to provide content in a network.
 network comprising:
                           Google provides a computer-implemented method for delivery of video content across a network.
                           Google provides a method for delivery of pre-recorded videos, such as content user-uploaded content or
                           TV shows.

                           As one example, a creator of content inserts triggers into a video that will be processed by Google.




                           https://www.youtube.com/watch?v=Nz43xdsf_i0

                           As another example, YouTube provides video, including live streaming, with ad breaks.




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                                                                       3
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PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


       8,719,886                                                           Google CDN




                           https://www.youtube.com/howyoutubeworks/product-features/live/#youtube-live




                           https://www.youtube.com/howyoutubeworks/product-features/live/#monetization




 receiving a video      Google receives a video stream from a content source for delivery to a client, such as an end user, where
 stream from a content the end user subscribes to receive the video content. For example, Google’s YouTube receives content
 source for delivery to from creators and provides live streams for delivery to subscribers of the creators.
 a client of a content
 publisher, wherein
 the client subscribes
 to the content


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PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


       8,719,886                                                           Google CDN
 publisher to receive
 video content;




                           https://www.youtube.com/watch?v=Nz43xdsf_i0




                           https://kstatic.googleusercontent.com/files/6a52d1116197cb18ec9e18691e2b31b2
                           5676f7f4d8b37ad74fb56526034674aad137626f3331e9fc925a08dd9f3e1085a4b1a4
                           e532f4e1fabec98ffd5e50f56d


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PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


       8,719,886                                                          Google CDN
 detecting a trigger       Google detects trigger signals in a video stream indicative of a temporal mark injected by a publisher,
 signal within the         for example trigger signals that indicate temporal marks for advertisements, such as during YouTube
 video stream,             live streaming events.
 wherein the trigger
 signal is indicative of   As one example, Google’s YouTube inserts triggers for mid-roll ads including during live streams, or a
 a temporal mark           video creator can manually insert triggers for ads. As shown below, Google instructs creators to avoid
 injected into the         placing breaks at disruptive points, indicating the ad breaks correspond to trigger signals indicative of
 video stream by the       temporal marks (such as at 05:13:02 below).
 content publisher;




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       8,719,886                                                           Google CDN




                           https://www.youtube.com/watch?v=Nz43xdsf_i0




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PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


       8,719,886                                                           Google CDN




                           https://support.google.com/youtube/answer/7385599?sjid=2366353019137992062-NC

                           As another example, Google detects a trigger signal in a video stream when showing episodes of TV
                           shows “Free with ads” using YouTube.




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                                                                       8
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       8,719,886                                                           Google CDN




                           https://www.youtube.com/feed/storefront?bp=ogUCKAY%3D

 processing the trigger    Google’s YouTube processes the trigger signal to determine whether to modify delivery of a video
 signal to determine       stream, for example to show an ad.
 whether to modify
 delivery of the video
 stream to the client;
 and



                           https://support.google.com/youtubetv/answer/7126139?hl=en#zippy=%2Clive-tv%2Cad-
                           personalization




                           https://support.google.com/youtube/answer/7385599?sjid=2366353019137992062-NC#YTinsertmid
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                                                    #:297
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


       8,719,886                                                           Google CDN

 if necessary,         If necessary, Google’s YouTube modifies delivery of the video stream in accordance with the
 modifying delivery of processing of the trigger signal, for example to insert a personalized ad if the live stream includes ads.
 the video stream in
 accordance with the
 processing of the
 trigger signal,




                           https://www.youtube.com/watch?v=Nz43xdsf_i0




                           https://support.google.com/youtube/answer/7385599?sjid=2366353019137992062-NC

 wherein processing        Google’s YouTube processes the trigger signal including querying a data repository with information
 the trigger signal        related to a content programming schedule associated with the content publisher. As one example,
 comprises querying a      Google queries a repository with information related to ad breaks. As another example, Google queries
 data repository           a repository with information related to an ad schedule from a creator, as shown further below.
 having information
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.

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                  Case 2:24-cv-03951-PSG-RAO Document 1-10 Filed 05/10/24 Page 11 of 14 Page ID
                                                    #:298
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


       8,719,886                                                           Google CDN
 related to a content
 programming
 schedule associated
 with the content
 publisher.




                           https://www.youtube.com/watch?v=Nz43xdsf_i0




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                                                    #:299
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


       8,719,886                                                           Google CDN




                           https://support.google.com/youtubetv/answer/7126139?hl=en#zippy=%2Clive-tv%2Cad-
                           personalization




                           https://support.google.com/youtube/answer/7385599?sjid=2366353019137992062-
                           NC#channel_settings_midroll




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                                                    #:300
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       8,719,886                                                           Google CDN




 3. The computer-          Google further includes receiving a response with synchronization information for modifying the
 implemented method        delivery of the video stream to a client, such as an end user, including at least geo-filtering or
 as in claim 1, further    advertising information. For example, a data repository can provide information that causes YouTube to
 comprising:               modify an advertisement that is shown or to discontinue showing a video stream, for example due to
 receiving a response      location information obtained by YouTube.
 from the data
 repository that
 includes
 synchronization
 information for
 modifying, if
 necessary, the
 delivery of the video
 stream to the client,
 the synchronization
 information further
 including at least one    https://support.google.com/adspolicy/answer/143465
 of geo-filtering
 information and

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                                                    #:301
PRELIMINARY – This chart is an initial mapping prepared before discovery and prior to any Infringement Contentions.


        8,719,886                                                          Google CDN
 advertisement
 information.
 7. The computer-          Google processes a trigger signal including applying proximity parameters to determine whether to
 implemented method        modify delivery of a video stream. For example, YouTube applying the parameters to determine
 as in claim 1, wherein    whether to show an advertisiement and/or which advertisement to show, or to block or discontinue
 processing the trigger    content based on a location, for example.
 signal comprises:
 applying proximity
 parameters associated
 with the client to the
 trigger signal in order
 to determine whether
 to modify the
 delivery of the video
 stream to the client.


                           https://support.google.com/adspolicy/answer/143465




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